                                          Case 3:17-cv-00223-RS Document 319 Filed 01/23/18 Page 1 of 2




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                                   6                                 UNITED STATES DISTRICT COURT

                                   7                                NORTHERN DISTRICT OF CALIFORNIA

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                                        SECURITIES AND EXCHANGE
                                   9    COMMISSION,                                        Case No. 17-cv-00223-RS

                                  10                   Plaintiff,
                                                                                           ORDER GRANTING MOTION RE
                                  11            v.                                         REPURCHASE OF INTEREST IN
                                                                                           COMPREHENSIVE CARE OF
                                  12    SAN FRANCISCO REGIONAL CENTER                      CALIFORNIA, LLC,
Northern District of California
 United States District Court




                                        LLC, et al.,
                                  13
                                                       Defendants.
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                                  15          Pursuant to Civil Local Rule 7-1(b), the Receiver’s motion seeking an order (l) authorizing

                                  16   her to exercise an option to repurchase the interest of San Francisco Regional, LLC (“SFRC”) in

                                  17   Comprehensive Care of California, LLC (“CCOC”); and (2) directing that repurchase funds be

                                  18   held in an escrow account, is suitable for disposition without oral argument and the hearing set for

                                  19   January 26, 2018 is vacated. A hearing on the Receiver’s motion related to North America 3PL,

                                  20   LLC and Berkeley Healthcare Dynamics, LLC remains on calendar for that date.

                                  21          Good cause appearing, the present motion is granted. “Interested party” Shirley Ma

                                  22   expressly does not oppose the Receiver’s request to exercise San Francisco Regional Center’s

                                  23   right to repurchase an interest in CCOC. Ma requests than in lieu of a deposit of the repurchase

                                  24   funds into escrow, payment instead be made directly to her. The Receiver has shown, however,

                                  25   sufficient questions remain unresolved regarding the ultimate rights to the funds such that payment

                                  26   to Ma at this juncture is not appropriate, and Ma has not shown undue prejudice will result from

                                  27   maintaining the status quo in such a manner. The funds shall be held in escrow.

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                                          Case 3:17-cv-00223-RS Document 319 Filed 01/23/18 Page 2 of 2




                                   1   IT IS SO ORDERED.

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                                   3   Dated: January 23, 2018

                                   4                                        ______________________________________
                                                                            RICHARD SEEBORG
                                   5                                        United States District Judge
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Northern District of California
 United States District Court




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                                                                                                CASE NO.   17-cv-00223-RS
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